         Case 1:22-cv-01315-LPS                  Document 9        Filed 10/20/22      Page 1 of 8 PageID #: 122

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Delaware
                                                             District of __________

     BANCO SAN JUAN INTERNACIONAL INC.,                           )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:22-cv-01315-LPS
                                                                  )
           PETRÓLEOS DE VENEZUELA S.A                             )
             and PDVSA PETRÓLEO, S.A.,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PDVSA PETRÓLEO, S.A
                                       Avenida Libertador
                                       Edificio Petróleos de Venezuela, Torre Este
                                       Urbanization La Campiña, Caracas




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Thomas A. Uebler
                                       MCCOLLOM D'EMILIO SMITH UEBLER LLC
                                       2751 Centerville Rd., Suite 401
                                       Wilmington, DE 19808



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

                                                                             /s/ John A. Cerino
Date:
                                                                                       Signature of Clerk or Deputy Clerk
          Case 1:22-cv-01315-LPS                         Document 9       Filed 10/20/22        Page 2 of 8 PageID #: 123

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-01315-RGA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 Additional information regarding attempted service, etc:
         Case 1:22-cv-01315-LPS                 Document 9        Filed 10/20/22      Page 3 of 8 PageID #: 124

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Delaware
                                                            District of __________

     BANCO SAN JUAN INTERNACIONAL INC.,                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:22-cv-01315-LPS
                                                                 )
          PETRÓLEOS DE VENEZUELA S.A.                            )
            and PDVSA PETRÓLEO, S.A.,
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PDVSA PETRÓLEO, S.A.
                                       c/o Maples and Calder
                                       11th Floor
                                       200 Aldersgate Street
                                       London EC1A 4HD
                                       United Kingdom



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Thomas A. Uebler
                                       MCCOLLOM D'EMILIO SMITH UEBLER LLC
                                       2751 Centerville Rd., Suite 401
                                       Wilmington, DE 19808



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

                                                                            /s/ John A. Cerino
Date:
                                                                                      Signature of Clerk or Deputy Clerk
          Case 1:22-cv-01315-LPS                         Document 9       Filed 10/20/22        Page 4 of 8 PageID #: 125

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-01315-UNA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 Additional information regarding attempted service, etc:
         Case 1:22-cv-01315-LPS                  Document 9        Filed 10/20/22      Page 5 of 8 PageID #: 126

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Delaware
                                                             District of __________

     BANCO SAN JUAN INTERNACIONAL INC.,                           )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:22-cv-01315-LPS
                                                                  )
          PETRÓLEOS DE VENEZUELA S.A.                             )
            and PDVSA PETRÓLEO, S.A.,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PETRÓLEOS DE VENEZUELA S.A.
                                       Avenida Libertador
                                       Edificio Petróleos de Venezuela, Torre Este
                                       Urbanization La Campiña, Caracas




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Thomas A. Uebler
                                       MCCOLLOM D'EMILIO SMITH UEBLER LLC
                                       2751 Centerville Rd., Suite 401
                                       Wilmington, DE 19808



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT

                                                                             /s/ John A. Cerino
Date:
                                                                                       Signature of Clerk or Deputy Clerk
          Case 1:22-cv-01315-LPS                         Document 9       Filed 10/20/22        Page 6 of 8 PageID #: 127

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-01315-RGA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 Additional information regarding attempted service, etc:
         Case 1:22-cv-01315-LPS                 Document 9        Filed 10/20/22      Page 7 of 8 PageID #: 128

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                      District
                                                __________     of Delaware
                                                            District of __________

     BANCO SAN JUAN INTERNACIONAL INC.,                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:22-cv-01315-LPS
                                                                 )
          PETRÓLEOS DE VENEZUELA S.A.                            )
            and PDVSA PETRÓLEO, S.A.,
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PETRÓLEOS DE VENEZUELA S.A.
                                       c/o Maples and Calder
                                       11th Floor
                                       200 Aldersgate Street
                                       London EC1A 4HD
                                       United Kingdom



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Thomas A. Uebler
                                       MCCOLLOM D'EMILIO SMITH UEBLER LLC
                                       2751 Centerville Rd., Suite 401
                                       Wilmington, DE 19808



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

                                                                            /s/ John A. Cerino
Date:
                                                                                      Signature of Clerk or Deputy Clerk
          Case 1:22-cv-01315-LPS                         Document 9       Filed 10/20/22        Page 8 of 8 PageID #: 129

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:22-cv-01315-UNA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 Additional information regarding attempted service, etc:
